
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-09-00035-CR


______________________________




RUSTY BOB BEENE, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 6th Judicial District Court


Lamar County, Texas


Trial Court No. 22340




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley



MEMORANDUM  OPINION



	Rusty Bob Beene appeals from the revocation of his community supervision, on his pleas of
"true" to the State's allegations contained in its motion to revoke, for the underlying offenses of two
counts of forgery of a financial instrument.  See Tex. Penal Code Ann. § 32.21 (Vernon Supp.
2009).  Beene was sentenced by the trial court to twenty-four months' confinement in a state-jail
facility, a fine of $500.00, and restitution of $3,573.06. (1)  See Tex. Code Crim. Proc. Ann. art.
42.037 (Vernon Supp. 2008); Tex. Penal Code Ann. § 12.35 (Vernon Supp. 2009).  Beene was
represented at trial by a different, appointed, counsel than the one on appeal.  

	Beene's attorney has filed a brief which discusses the record and reviews the proceedings. 
Counsel has thus provided a professional evaluation of the record demonstrating why, in effect, there
are no arguable grounds to be advanced.  This meets the requirements of Anders v. California, 386
U.S. 738 (1967); Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991); and High v. State, 573
S.W.2d 807 (Tex. Crim. App. [Panel Op.] 1978).

	Counsel mailed a copy of the brief to Beene on August 3, 2009, informing  Beene of his right
to examine the entire appellate record and to file a pro se response.  Counsel simultaneously filed
a motion with this Court seeking to withdraw as counsel in this appeal.  Beene has neither filed a
pro&nbsp;se response, nor has he requested an extension of time in which to file such a response.

	We have determined that this appeal is wholly frivolous.  We have independently reviewed
the clerk's record and the reporter's record, and we agree that no arguable issues support an appeal. 
See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  In a frivolous appeal
situation, we are to determine whether the appeal is without merit and is frivolous, and if so, the
appeal must be dismissed or affirmed.  See Anders, 386 U.S. 738.

	We affirm the judgment of the trial court. (2)





						Bailey C. Moseley

						Justice


Date Submitted:	October 14, 2009

Date Decided:		October 15, 2009


Do Not Publish
1. Beene appeals three companion appeals, cause numbers 06-09-00035-CR, 06-09-00036-CR
and 06-09-00037-CR, all decided this date, from the revocations of his community supervision of
the offenses of forgery of a financial instrument, burglary of a building, and theft of property.  The
sentences are to run concurrently. 
2. Since we agree this case presents no reversible error, we also, in accordance with Anders,
grant counsel's request to withdraw from further representation of Beene in this case.  No substitute
counsel will be appointed.  Should Beene wish to seek further review of this case by the Texas Court
of Criminal Appeals, Beene must either retain an attorney to file a petition for discretionary review
or Beene must file a pro se petition for discretionary review.  Any petition for discretionary review
must be filed within thirty days from the date of either this opinion or the last timely motion for
rehearing that was overruled by this Court.  See Tex. R. App. P. 68.2.  Any petition for discretionary
review must be filed with this Court, after which it will be forwarded to the Texas Court of Criminal
Appeals along with the rest of the filings in this case.  See Tex. R. App. P. 68.3.  Any petition for
discretionary review should comply with the requirements of Rule 68.4 of the Texas Rules of
Appellate Procedure.  See Tex. R. App. P. 68.4.


